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                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

IN RE:                                   §
                                         §             Case No. 22-60043
FREE SPEECH SYSTEMS, LLC,                §
                                         §             Chapter 11 (Subchapter V)
      Debtor                             §

                           SANDY HOOK FAMILIES’
                          WITNESS AND EXHIBIT LIST

 Judge                  Hon. Christopher M. Lopez
 Hearing Date           Thursday, June 29, 2023
 Hearing Time           11:00 a.m. (CST)
 Party’s Name           Sandy Hook Families (as defined below)
 Attorney’s Names       Ryan Chapple (Connecticut Plaintiffs)
                        Avi Moshenberg, Jarrod Martin (Texas Plaintiffs)
 Attorney’s Phone       512-477-5000 (Ryan Chapple)
                        713-337-5580 (Avi Moshenberg)
                        713-356-1280 (Jarrod Martin)
 Nature of Proceeding   Cash Collateral Motion [Dkt. 6]

      Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and Marcel

Fontaine (collectively, the “Texas Plaintiffs”) and David Wheeler, Francine Wheeler,

Jacqueline Barden, Mark Barden, Nicole Hockley, Ian Hockley, Jennifer Hensel, Donna

Soto, Carlee Soto Parisi, Carlos M. Soto, Jillian Soto-Marino, William Aldenberg, William

Sherlach, and Robert Parker (collectively, the “Connecticut Plaintiffs” and together, the

“Sandy Hook Families”) hereby submit this Witness and Exhibit List in connection with

the hearing on Debtor’s Emergency Motion for an Interim and Final Orders

(I) Authorizing the Use of Cash Collateral Pursuant to Sections 105, 361, and 363 of the

Bankruptcy Code and Federal Rule of Bankruptcy Procedure 4001(B) and (II) Granting

Adequate Protection to the Pre-Petition Secured Lender (the “Cash Collateral Motion”)

[Dkt. 6]; to be held on Thursday, June 29, 2023, at 11:00 a.m. (Central Standard Time):



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       The Sandy Hook Families reserve the right to supplement, amend, or revise this

Witness and Exhibit List at any time prior to the hearing. The Sandy Hook Families

reserve the right to supplement the Witness and Exhibit List with new witnesses and

additional exhibits. Further, the Sandy Hook Families reserve the right to use any

exhibits presented by any other party and to ask the Court to take judicial notice of any

document. The Sandy Hook Families further reserve the right to introduce exhibits

previously admitted.

                                         WITNESS LIST

       The Sandy Hook Families may call the following witnesses at the hearing:
   1. Patrick Magill, Chief Restructuring Officer of Debtor;
   2. Any witness necessary to rebut the testimony of any witness called or designated
      by any other parties;
   3. Any witness listed or called by any other party.

                                         EXHIBIT LIST

       The Sandy Hook Families may offer for admission into evidence any of the

following exhibits at the hearing:

                                                               Admitted/   Disposition
 No.            Description               Offered Objection      Not
                                                               Admitted
  1.   Debtor’s Emergency Motion for
       an Interim and Final Orders
       (I) Authorizing the Use of Cash
       Collateral Pursuant to Sections
       105, 361, and 363 of the
       Bankruptcy Code and Federal
       Rule of Bankruptcy Procedure
       4001(b) and (II) Granting
       Adequate Protection to the Pre-
       Petition Secured Lender
       [Dkt. 6]




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  2.   Declaration of W. Marc
       Schwartz in Support of
       Voluntary Petition and First
       Day Motions [Dkt. 10]

  3.   Interim Order Authorizing
       Debtor’s Use of Cash Collateral
       and Providing Partial Adequate
       Protection [Dkt. 41]

  4.   Order Modifying Interim Order
       Authorizing Debtor’s Use of
       Cash Collateral and Providing
       Partial Adequate Protection
       [Dkt. 64]

  5.   Second Interim Order
       Authorizing Debtor’s Use of
       Cash Collateral and Providing
       Partial Adequate Protection
       [Dkt. 98]

  6.   Third Interim Order
       Authorizing Debtor’s Use of
       Cash Collateral and Providing
       Partial Adequate Protection
       [Dkt. 151]

  7.   Fourth Interim Order
       Authorizing Debtor’s Use of
       Cash Collateral and Providing
       Partial Adequate Protection
       [Dkt. 238]

  8.   Fifth Interim Order Authorizing
       Debtor’s Use of Cash Collateral
       and Providing Partial Adequate
       Protection [Dkt. 258]

  9.   Sixth Interim Order Authorizing
       Debtor’s Use of Cash Collateral
       and Providing Partial Adequate
       Protection [Dkt. 287]

 10.   Seventh Interim Order
       Authorizing Debtor’s Use of
       Cash Collateral and Providing
       Partial Adequate Protection
       [Dkt. 333]




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  11.   Eighth Interim Order
        Authorizing Debtor’s Use of
        Cash Collateral and Providing
        Partial Adequate Protection
        [Dkt. 403]

 12.    Ninth Interim Order
        Authorizing Debtor’s Use of
        Cash Collateral and Providing
        Partial Adequate Protection
        [Dkt. 459]

 13.    Tenth Interim Order
        Authorizing Debtor’s Use of
        Cash Collateral and Providing
        Partial Adequate Protection
        [Dkt. 535]

 14.    Eleventh Interim Order
        Authorizing Debtor’s Use of
        Cash Collateral and Providing
        Partial Adequate Protection
        [Dkt. 571]

 15.    Twelfth Interim Order
        Authorizing Debtor’s Use of
        Cash Collateral and Providing
        Partial Adequate Protection
        [Dkt. 607]

        Any document or pleading filed
        in the above-captioned case

        Any exhibits identified or
        offered by any other party

        Any exhibits necessary for
        impeachment and/or rebuttal
        purposes




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      Respectfully submitted this 27th day of June 2023.

                                       MCDOWELL HETHERINGTON LLP

                                       Avi Moshenberg
                                       Texas Bar No. 24083532
                                       1001 Fannin Street, Suite 2700
                                       Houston, Texas 77002
                                       D: 713-337-5580
                                       F: 713-337-8850
                                       E: Avi.Moshenberg@mhllp.com
                                       Counsel for the Texas Plaintiffs

                                       CHAMBERLAIN, HRDLICKA, WHITE,
                                          WILLIAMS & AUGHTRY, PC

                                       By: /s/Jarrod B. Martin
                                       Jarrod B. Martin
                                       Texas Bar No. 24070221
                                       1200 Smith Street, Suite 1400
                                       Houston, Texas 77002
                                       D: 713-356-1280
                                       F: 713-658-2553
                                       E: jarrod.martin@chamberlainlaw.com
                                       Bankruptcy Counsel for the Texas
                                       Plaintiffs

                                       -and-

                                       CAIN & SKARNULIS PLLC

                                       By: /s/ Ryan E. Chapple
                                       Ryan E. Chapple
                                       Texas Bar No. 24036354
                                       303 Colorado Street, Suite 2850
                                       Austin, Texas 78701
                                       D: 512-477-5019
                                       F: 512-477-5011
                                       E: rchapple@cstrial.com
                                       Bankruptcy Counsel for Connecticut
                                       Plaintiffs




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                             CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Witness and Exhibit
List has been served on counsel for Debtor, Debtor, and all parties receiving or entitled to
notice through CM/ECF on this 27th day of June 2023.


                                          /s/ Ryan E. Chapple
                                          Ryan E. Chapple




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